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                              United States District Court
                                        for the
                              Southern District of Florida

  Bryan Boigris, Plaintiff,               )
                                          )
  v.                                      ) Civil Action No. 19-21148-Civ-Scola
                                          )
  EWC P&T, LLC, Defendant.                )

                   Order Referring Motion to Magistrate Judge
        The Court refers the Defendant’s renewed motion for Rule 11 Sanctions
  (ECF No. 129) to United States Magistrate Judge Edwin G. Torres for either an
  order or a report and recommendations, consistent with 28 U.S.C. § 636(b)(1),
  Federal Rule of Civil Procedure 72, and Rule 1 of the Local Magistrate Judge
  Rules.
        If Judge Torres’s determination results in dispositive sanctions, a report
  and recommendations would be appropriate; if the determination results in
  non-dispositive sanctions, an order can be entered. See Commercial Long
  Trading Corp. v. Scottsdale Ins. Co., No. 12-22787-CIV, 2013 WL 1100063, n.1
  (S.D. Fla. Mar. 15, 2013) (Goodman, J.) (“In determining between dispositive
  and non-dispositive sanctions, the critical factor is what sanction the
  magistrate judge actually imposes, rather than the one requested by the party
  seeking sanctions.”) (emphasis in original) (citing Gomez v. Martin Marietta
  Corp., 50 F.3d 1511, 1519-20 (10th Cir. 1995).
        Done and ordered at Miami, Florida, on April 15, 2020.

                                               ________________________________
                                               Robert N. Scola, Jr.
                                               United States District Judge
